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W.D. ot-“ "rr\¢, wristér=riis'
Plainti]cf,

VS.
CR. NO. 004-20493-B

|l'\/|HONA ARNOLD EKO-|SENALUMHE,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/lay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 With a
report date of Mondav. Julv 25, 2005. at 9:30 a.m.. in Courtroom 1, 11th Floor of the
Federal Bui|ding, l\/|emphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18

U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a eedy trial.
lT |S SO ORDERED this § d f ne, 2005.

/M

J. o NiEL BREEN \
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_ DISICT COURT - WESRNTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CR-20493 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

